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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

_______________________________________
                                         )
MARSHALL F. NEWMAN, as he is             )
Trustee of the ANGELO C.                 )
TODESCA, JR. FAMILY TRUST II,            )
                                         )
              Plaintiff and              )
              Counterclaim-Defendant,    )                  Civil Action No.
                                         )                  20-10632-FDS
      v.                                 )
                                         )
UNITED STATES OF AMERICA,                )
                                         )
              Defendant and              )
              Counterclaimant-Plaintiff, )
                                         )
      v.                                 )
                                         )
SANTANDER BANK, N.A.,                    )
                                         )
              Defendant and              )
              Counterclaim-Defendant,    )
                                         )
      and                                )
                                         )
ALBERT M. TODESCA,                       )
                                         )
              Counterclaim-Defendant.    )
_______________________________________)

                                     FINAL JUDGMENT

SAYLOR, C.J.

       On July 15, 2022, this Court entered an Order (ECF No. 119) granting the government’s

unopposed motion for partial summary judgment as to Albert M. Todesca’s assessed income-tax

liabilities in the amount of $97,737.38 the assessed trust-fund recovery penalties in the amount of

$296,011.32, as well as any statutory additions and interest from January 28, 2022. On

August 9, 2023, the Court entered an order (ECF No. 130) granting the government’s motion for
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partial summary judgment enforcing federal tax liens and levies dated January 2, 2020, and

July 16, 2020, against Albert M. Todesca’s right to the funds in Angelo C. Todesca Jr. Family

Trust II (“Trust”) bank accounts, and denying plaintiff’s cross-motion for summary judgment on

a related wrongful levy claim. Both orders, together with this final judgment, resolve all matters

in this case.

        IT IS HEREBY, ORDERED, ADJUDGED, and DECREED that the United States shall

recover from counterclaim-defendant Albert M. Todesca for unpaid income-tax liabilities for tax

years 2008, 2009, and 2010, in the amount of $97,737.38, plus statutory additions from and after

January 28, 2022. The United States has represented it will apply the funds to be disbursed as

provided below first to satisfy this liability and so it is assumed this part of this judgment will be

satisfied.

        IT IS HEREBY, ORDERED, ADJUDGED, and DECREED that the United States shall

recover from counterclaim-defendant Albert M. Todesca for unpaid trust-fund recovery penalties

pursuant to 26 U.S.C. § 6672 for the quarterly tax periods ending on March 31, 2008, June 30,

2008, September 30, 2008, December 31, 2008, March 31, 2009, June 30, 2009, September 30,

2009, December 31, 2009, March 31, 2010, and June 30, 2010, in the amount of $296,011.32,

plus statutory additions from and after January 28, 2022. This liability will be reduced by so

much of the funds to be disbursed as provided below as are not required to satisfy the income-tax

liabilities set forth in the preceding paragraph.

        IT IS HEREBY, ORDERED, ADJUDGED, and DECREED that the United States has

valid and subsisting federal tax liens upon and against all property and rights to property

belonging to Albert M. Todesca, including his beneficial interest in the Angelo C. Todesca, Jr.

Family Trust II.




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       IT IS HEREBY, ORDERED, ADJUDGED, and DECREED that each notice of levy

served on Santander Bank N.A. constitutes a valid demand for distribution with which Marshall

F. Newman as Trustee of the Trust is required to comply.

       IT IS HEREBY, ORDERED, ADJUDGED, and DECREED that the funds deposited into

the court registry, totaling $379,575.32 plus all accrued interest, shall be disbursed to the United

States to be applied to Albert M. Todesca’s federal income-tax liabilities and his unpaid trust-

fund recovery penalties as set forth above. Payment to the United States shall be made by check,

payable to the “U.S. Department of Justice f/a/o Albert M. Todesca,” with “CMN: 2020100738”

on the memorandum line, and mailed to Stephanie Milton, U.S. Department of Justice, P.O. Box

55, Washington D.C., 20044.



So Ordered.


                                                          /s/ F. Dennis Saylor IV
                                                          F. Dennis Saylor IV
Dated: September 20, 2023                                 Chief Judge, United States District Court




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